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                                                                                                      E-FILED
                                                                     Tuesday, 02 October, 2018 03:54:12 PM
                                                                               Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                     PEORIA DIVISION

 RALPH KINGS A/K/A VINCENT E.                       )
 HUDSON,                                            )
                                                    )
                                 Plaintiff,         )
                                                    )         17-1128
 v.                                                 )
                                                    )
 SCOTT MCCORMICK, et al.                            )
                                                    )
                                 Defendants.

                                               ORDER

       Plaintiff, proceeding pro se and presently incarcerated at Pontiac Correctional Center

brought the present lawsuit pursuant to 42 U.S.C. § 1983 alleging constitutional violations of his

right to bodily integrity. The matter comes before this Court for ruling on the Defendant

McCormick’s Motion to Change Venue (Doc. 40) and Motion to Continue Pretrial and Trial

Dates (Doc. 42).

                                     Motion to Change Venue

       28 U.S.C. § 1404 provides that “[u]pon motion, consent or stipulation of all parties, any

action, suit or proceeding of a civil nature or any motion or hearing thereof, may be transferred,

in the discretion of the court, from the division in which pending to any other division in the

same district.” Id. § 1404(b). In ruling upon a motion to change venue, “courts generally

consider the availability of and access to witnesses, and each party’s access to and distance from

resources in each forum.” Research Automation, Inc. v. Schrader-Bridgeport Intern., Inc., 626

F.3d 973, 978 (7th Cir. 2010).

       The jury trial in this case is set to proceed at the U.S. Courthouse located in Rock Island,

Illinois, where this Court presides. Defendant McCormick requests that the Court conduct the

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trial at the U.S. Courthouse located in Peoria, Illinois, arguing that Peoria is more convenient for

the parties and witnesses.

       According to Defendant, the incremental costs of conducting the trial in Rock Island, as

opposed to Peoria, are as follows: (1) Defendant McCormick would have to travel an additional

100 miles each way from his residence to attend trial; and, (2) the Illinois Department of

Corrections (IDOC) would have to transport Plaintiff an additional 70 miles each way from his

place of incarceration at Pontiac Correctional Center. Defendant also states that the alleged

events occurred, and all the witnesses reside, in the Peoria Division.

       As to the witnesses, the Court stated in its Order Setting a Trial Date that witnesses

employed by, or incarcerated within, IDOC may appear by video. See (Doc. 34 at 2). Thus,

moving the trial will have no significant effect on the costs incurred to present their testimony,

nor will it affect the parties’ access to witnesses for purposes of trial preparation. Defendant also

has not presented any cost estimates or other information to show that traveling an additional 200

miles roundtrip would be unduly burdensome. IDOC is not a party in this action, and given that

Plaintiff could presumably be transferred at any time, there is no guarantee that Peoria will

remain the most convenient forum (in regards to travel distance) as far as Plaintiff is concerned.

In addition, moving the trial to Peoria will require another judge to permit use of his courtroom

to the detriment of those litigants on his docket, and also require court staff in both Rock Island

and Peoria to incur additional work to facilitate the trial. See id. (considering the effect a transfer

of venue would have on the efficient administration of the court system).

       For these reasons, Defendant’s motion is denied.




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                                       Motion to Continue

         In light of the settlement conference scheduled to occur on October 31, 2018,

Defendant’s Motion to Continue Pretrial and Trial Dates is granted. New dates are set forth

below.

IT IS THEREFORE ORDERED:

   1) Defendant’s Motion to Change Venue [40] is DENIED.

   2) Defendant’s Motion to Continue [42] is GRANTED. The Court vacated the
      previously scheduled final pretrial conference in its Text Order entered September
      7, 2018. The jury trial scheduled to begin November 5, 2018 is VACATED. Any
      writs previously issued for the jury trial ONLY are RECALLED.

   3) A final pretrial conference is scheduled for April 5, 2019, at 10:00 a.m. The Plaintiff
      shall appear via video conference and the Defendants’ attorney(s) shall appear in
      person before the court sitting in Rock Island, Illinois. The Clerk is directed to issue
      the appropriate writ for the Plaintiff’s participation in the conference.

   4) Jury Trial is scheduled for May 20, 2019, at 9:00 a.m. at the U.S. Courthouse in
      Rock Island, Illinois. No writs to issue at this time.

Entered this 2nd day of October, 2018.



                                       s/Sara Darrow
                                     SARA DARROW
                              UNITED STATES DISTRICT JUDGE




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